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GAS 245D          (Rev. 09/11) Judgment in a Criminal Case for Revocations
                  Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                               Southern District of Georgia
                                                                   Savannah Division

            UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                   V   .
                                                                                    (For Revocation of Probation or Supervised Release)
                         Lawson Anderson
                                                                                     Case Number:              4: 1OCROO160-4

                                                                                     USM Number:               16206-021

                                                                                     Courtney Reynolds Lerch
                                                                                     Defendant's Attorney
THE DEFENDANT:
   admitted guilt to violation of a mandatory condition of the term of supervision.
E was found in violation of conditions(s)________ - -                          --           - - after denial of guilt.

The defendant is adjudicated guilty of this offense;

   Violation Number                Nature of Violation                                                                                   Violation Ended

             II                    The defendant failed to refrain from any unlawful use of a controlled substance                          April 28, 2015
                                   (mandatory condition).

         The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
El The defendant has not violated condition(s)                                                    and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             June 17, 2015
Last Four Digits of Defendant's Soc See; 242.                                Date of Imposition of Judgment



Defendant's Year of Birth: 1985
                                                                             Signature of Judge

City and State offendant's Resid

Savannah, Georg - -                                                          William T. Moore, Jr.
                                                                             Judge, U.S. District Court
                              rn
                                                                             Name and Title of Judge


                       • U)
                   U
                                           UJ
                                                                             Date
                                           (-)
GAS 245D
                      Case 4:10-cr-00160-WTM-GRS Document 423 Filed 06/23/15 Page 2 of 2
                    (Rev. 09/11) Judgment in a Criminal Case for Revocations


                                                                                                                   Judgment— Page 2 of 2
DEFENDANT:                 Lawson Dale Anderson
CASE NUMBER:               4:10CRO0I60-4


                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    11 months, with credit for time served since his arrest on May 8, 2015.




           The Court makes the following recommendations to the Bureau of Prisons:
           Designation to the Bureau of Prisons facility located in Jesup, Georgia, or Estill, South Carolina, is recommended.




     19    The defendant is remanded to the custody of the U.S. Marshals Service.

     O     The defendant shall surrender to the United States Marshal for this district:

          0    at                                   0         a.m.      0      p.m. on

          0    as notified by the United States Marshal.

     [1    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0    before 2 p.m. on

          0     as notified by the United States Marshal.

          O     as notified by the Probation or Pretrial Services Office.




I have executed this judgment as follows:




          Defendant delivered on                                                              to

at                                                         with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL



                                                                                 By
                                                                                                     DEPUTY UNITED STATES MARSHAL
